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 NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 ____________________________________
                                     :
 STEVEN WRONKO, COLLENE              :
 WRONKO, and JENNIFER COOMBS         :
                                     :
                   Plaintiffs,       :
       v.                            :                Civil Action No. 3:17-cv-1956-BRM-DEA
                                     :
 HOWELL TOWNSHIP, CHIEF OF           :
 POLICE ANDREW KUDRICK,              :                                OPINION
 JEFFREY MAYFIELD, CAPTAIN JOHN :
 STORROW, and JOHN DOES 1-100,       :
                                     :
                   Defendants.       :
 ____________________________________:

 MARTINOTTI, DISTRICT JUDGE

        Before this Court is Defendants Howell Township, Andrew Kudrick (“Kudrick”), Jeffrey

 Mayfield (“Mayfield”), and John Storrow’s (“Storrow,” collectively “Defendants”) 1 Motion to

 Dismiss. (ECF No. 11.) Plaintiffs Steven Wronko, Collene Wronko, and Jennifer Coombs

 (“Combs,” collectively “Plaintiffs”) oppose the Motion. (ECF No. 12.) Pursuant to Federal Rule

 of Civil Procedure 78(b), the Court did not hear oral argument. For the reasons set forth below,

 Defendants’ Motion is GRANTED.

 I.     BACKGROUND

        For the purposes of the motion to dismiss, the Court accepts the factual allegations in the

 Complaint as true and draws all inferences in the light most favorable to Plaintiff. See Phillips v.



 1
   At all times relevant, Kudrick was the Chief of Police for Howell Township, Mayfield was a
 former Howell Police Officer, and Storrow was the Captain of the Howell Police Department.
 (Am. Compl. (ECF No. 4) ¶¶ 15-18.)
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 Cty. of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). Further, the Court also considers any

 “document integral to or explicitly relied upon in the complaint.” In re Burlington Coat Factory

 Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (emphasis in original).

         This dispute arises out of Defendants’ alleged retaliation against Plaintiffs for making

 anonymous New Jersey Open Public Records Act (“OPRA”) requests. Steven Wronko made

 anonymous requests to Howell Township for governmental records pursuant to OPRA. (ECF No.

 4 ¶¶ 19, 21.) In December 2016, Mayfield, Kudrick, and/or Storrow

                accessed the information Steven Wronko typed anonymously into
                the [Howell Township website] and identified that [] Steven
                Wronko had made a lawful [OPRA] request for records related to []
                Howell Township’s school buses and whether there were any
                records of these school buses being used while bus drivers were
                committing traffic offenses.

 (Id. ¶ 30.)

         Thereafter, on December 12, 2016, Kudrick issued an internal memorandum titled

 “Videoing/Encounters with the Police” (“Kudrick Memo”) to Howell Police personnel. (Id. ¶ 31.)

 The Kudrick Memo states, in relevant part:

                We see it too often – video of a police officer being baited into a
                confrontation with a motorist or pedestrian. The outcome is usually
                not good for the officer an agency. A YouTube and Facebook video
                involving our officers recently appeared online. As expected, the
                Howell officers acted professionally. They handled the situation
                exceptionally, turning the encounter around making the subject look
                foolish.

                The purpose of this memorandum is to familiarize and guide your
                response when you do encounter such persons – as many of us have.

                       ....

                Although each situation presents itself in a different manner with its
                own set of unique circumstances, once there is defiance/refusal to
                provide required credentials, you control the situation through your
                tactics, training and discretion. Since most of the non-compliant

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               persons are not familiar with the actual laws, advise them failure to
               provide their credentials is a criminal offense and they will be
               arrested if they do not immediately provide them to you (N.J.S.A.
               2C:29-1 – Obstruction). . . .

               Do not consider the memorandum as a standard operating procedure
               or a policy. I offer you guidance during this era of policing. Know
               the laws. Educate yourselves. Pay attention and learn from the
               mistakes and successes of others. Don’t get lured into a
               controversial encounter. Make this an opportunity for you to
               showcase your professionalism and knowledge. Integrity can be
               defined as doing the right thing even when no one is around. The
               same should apply to your encounters with the public. Always act
               as if you are being recorded and it will appear on social media. You
               will always win. You are professionals within a highly-respected
               law enforcement agency. I am confident you will act consistent with
               the expectations of a Howell police officer. You, in turn, will always
               have my full support.

 (Kudrick Memo (ECF No. 4-3).)

        On December 19, 2016, the Avon by the Sea Police Department emailed all local police

 departments regarding an OPRA request they received, asking if anyone received a similar OPRA

 request. (ECF No. 4-4.) Kudrick responded, stating, “Yes, I received same. No such records

 existed. It was explained we cannot run summonses by bus number or company name. His name

 is Steve Wronko. Former Howell resident. Now I believe to be living in Keansburg.” (Id.) The

 Holmdel Police Department also responded, stating:

               Holmdel received a similar request a few weeks ago from No One:
               aka Wronko. However, there were no plate numbers, and instead we
               were asked to provide all government emails and PERSONAL
               emails AND TEXTS from the Police Chief and the Mayor that had
               four specific words in the subject line or body.

 (ECF No. 4-5.) On December 20, 2016, Kudrick sent another email to the Monmouth County

 Police Chiefs attaching the Kudrick Memo and stating:

               In response to the ongoing harassment of public employees by
               Steven Wronko and Jennifer Coombs, I prepared a memo for my
               staff an officers. I sent it to all of you in a PDF. If you would like to

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                document in Word so you can cut/paste/add and place on your own
                PD letterhead email me and I’ll send it out to you. Feel free to use.

 (ECF No. 4 ¶ 42.)

        Subsequently, Storrow allegedly “illegally accessed the New Jersey Motor Vehicle Online

 Access to Motor Vehicle Records database and retrieved information related to [] Steven Wronko,

 Collene Wronko and Jennifer Coombs.” (Id. ¶ 45.) Storrow was required to sign a certification

 before he obtained access to the Motor Vehicle Online Database stating, in part, “I will only use

 any personal information contained in records I have requested as permitted by the Drivers’

 Privacy Protection Act.” (Id. ¶ 29.) On February 23, 2017, Storrow sent a copy of the driver’s

 license information he obtained via email to Mayfield. (Id. ¶ 46.) Thereafter, Mayfield, Kudrick,

 and Storrow constructed three posters consisting of the pictures and data obtained from the New

 Jersey Motor Vehicle Commission’s Online Access database regarding the Plaintiffs. (Id. ¶ 51.)

 Collene Wronko and Steven Wronko’s posters also stated, “Subject may attempt to audio and

 video tape government employees and government buildings.” (ECF No. 4-6.) Coombs poster

 stated, “Known to operate a 2005 silver Hyundai Sonata . . .” (Id.) The posters were placed behind

 the municipal clerk’s counter at the Howell Municipal Building “so that the public was able to

 view the Plaintiffs’ pictures and Plaintiffs’ personal information.” (ECF No. 1 ¶ 52.)

        On March 24, 2017, Plaintiffs filed a Complaint against Defendants. (ECF No. 1.) On April

 11, 2017, Plaintiffs filed an Amended Complaint, alleging six counts: (1) violation of 42 U.S.C. §

 1983; (2) violation of the New Jersey Civil Rights Act (“NJCRA”), N.J.S.A. § 10:6-1, et seq.; (3)

 Monell claims; (4) failure to train, supervise, or discipline pursuant to the NJCRA; (5) declaratory

 judgment; and (6) a private cause of action pursuant to 18 U.S.C. § 2724. (ECF No. 4.) In lieu of

 filing an answer, Defendants filed a Motion to Dismiss. (ECF No. 11.) Plaintiffs oppose the

 Motion. (ECF No. 12.)

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 II.    LEGAL STANDARD

        In deciding a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

 district court is “required to accept as true all factual allegations in the complaint and draw all

 inferences in the facts alleged in the light most favorable to the [plaintiff].” Phillips, 515 F.3d at

 228. “[A] complaint attacked by a . . . motion to dismiss does not need detailed factual allegations.”

 Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007). However, the Plaintiff’s “obligation to provide

 the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions, and a

 formulaic recitation of the elements of a cause of action will not do.” Id. (citing Papasan v. Allain,

 478 U.S. 265, 286 (1986)). A court is “not bound to accept as true a legal conclusion couched as a

 factual allegation.” Papasan, 478 U.S. at 286. Instead, assuming the factual allegations in the

 complaint are true, those “[f]actual allegations must be enough to raise a right to relief above the

 speculative level.” Twombly, 550 U.S. at 555.

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 570). “A claim has facial plausibility when the

 pleaded factual content allows the court to draw the reasonable inference that the defendant is

 liable for misconduct alleged.” Id. This “plausibility standard” requires the complaint allege “more

 than a sheer possibility that a defendant has acted unlawfully,” but it “is not akin to a ‘probability

 requirement.’” Id. (citing Twombly, 550 U.S. at 556). “Detailed factual allegations” are not

 required, but “more than ‘an unadorned, the defendant-harmed-me accusation” must be pled; it

 must include “factual enhancements” and not just conclusory statements or a recitation of the

 elements of a cause of action. Id. (citing Twombly, 550 U.S. at 555, 557).




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        “Determining whether a complaint states a plausible claim for relief [is] . . . a context-

 specific task that requires the reviewing court to draw on its judicial experience and common

 sense.” Iqbal, 556 U.S. at 679. “[W]here the well-pleaded facts do not permit the court to infer

 more than the mere possibility of misconduct, the complaint has alleged—but it has not

 ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

        While as a general rule, a court many not consider anything beyond the four corners of the

 complaint on a motion to dismiss pursuant to 12(b)(6), the Third Circuit has held “a court may

 consider certain narrowly defined types of material without converting the motion to dismiss [to

 one for summary judgment pursuant under Rule 56].” In re Rockefeller Ctr. Props. Sec. Litig., 184

 F.3d 280, 287 (3d Cir. 1999). Specifically, courts may consider any “document integral to or

 explicitly relied upon in the complaint.” In re Burlington Coat Factory Sec. Litig., 114 F.3d at

 1426 (emphasis in original).

 III.   DECISION

        A. § 1983 (Count One) and DPPA (Count Six) Claims

        Defendants argue Plaintiffs cannot maintain a § 1983 claim because their Amended

 Complaint lacks facts stating Defendants deprived Plaintiffs of any federal rights. (ECF No. 11-2

 at 5-7.) First, Defendants argue, “While the Complaint vaguely referenced a ‘right to privacy,’ no

 court has found that an individual has a legitimate expectation of privacy in a driver’s license

 photograph so as to trigger constitutional privacy protections.” (Id. at 6.) Second, they contend

 Plaintiffs’ Complaint does not allege any other federal rights of which Plaintiffs have been

 deprived. (Id.) Lastly, they contend Plaintiffs’ allegations of violations of the Driver’s Privacy

 Protection Act (“DPPA”) are not actionable under § 1983. (Id. at 6-7.) Plaintiffs contend their




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 Complaint properly claims relief under § 1983. (ECF No. 12-2 at 18.) They further argue Plaintiffs

 who seek remedies under the DPPA may also seek relief under § 1983. (Id. at 20.)

         Section 1983 of Title 42 of the United States Code provides a cause of action for an

 individual whose constitutional or federal rights are violated by those acting under color of state

 law:

                 Every person who, under color of any statute, ordinance, regulation,
                 custom, or usage, of any State or Territory or the District of
                 Columbia, subjects, or causes to be subjected, any citizen of the
                 United States or other person within the jurisdiction thereof to the
                 deprivation of any rights, privileges, or immunities secured by the
                 Constitution and laws, shall be liable to the party injured in an action
                 at law, suit in equity, or other proper proceeding for redress . . . .

 42 U.S.C. § 1983.

         “To establish valid claims under § 1983, the plaintiff must demonstrate that the defendants,

 while acting under color of state law, deprived him of a right secured by the Constitution or the

 laws of the United States.” Shuman ex rel Shertzer v. Penn Manor School Dist., 422 F.3d 141, 146

 (3d Cir. 2005) (citing Mark v. Borough of Hatboro, 51 F.3d 1137, 1141 (3d Cir. 1995) (citing

 Moore v. Tartler, 986 F.2d 682, 685 (3d Cir. 1993))); see also Gomez v. Toledo, 446 U.S. 635,

 640 (1980) (“By the plain terms of § 1983, two—and only two—allegations are required in order

 to state a cause of action under that statute. First, the plaintiff must allege that some person has

 deprived him of a federal right. Second, he must allege that the person who has deprived him of

 that right acted under color of state or territorial law.”).

         Count One of Plaintiffs’ Amended Complaint merely alleges Defendants “violated the

 Plaintiffs . . . protections set forth under 42 U.S.C. § 1983.” (ECF No. 4 ¶ 58.) However, the Court

 construes the factual allegations of the Amended Complaint to allege two § 1983 violations: (1)

 violation of § 1983 by reason of the alleged DPPA violations (see generally ECF No. 4); and (2)



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 violations of Plaintiffs’ “right to privacy” (Id. ¶ 55). The Court will address each alleged violation

 in turn.

            Appellate courts are split on the issue of whether statutory rights created by the DPPA are

 enforceable both directly and under § 1983. See Collier v. Dickinson, 477 F.3d 1306, 1311 (11th

 Cir. 2007) (the statutory rights created by the DPPA are enforceable both directly and under §

 1983; see also Roth v. Guzman, 60 F.3d 603 (6th Cir. 2011); but see McCready v. White, 417 F.3d

 700, 703 (7th Cir. 2005) (under the DPPA there is no private right of action pursuant to 42 U.S.C.

 § 1983). The Third Circuit has not addressed the issue, but has stated, “like § 1983, the DPPA

 sounds in tort.” Pichler v. UNITE, 542 F.3d 380, 388 (3d Cir. 2008). This Court need not reach

 this issue because Plaintiffs are unable to state a claim for the underlying violation of the DPPA.

            The DPPA provides that a “person who knowingly obtains, discloses or uses personal

 information, from a motor vehicle record, for a purpose not permitted under this chapter shall be

 liable to the individual to whom the information pertains, who may bring a civil action in a United

 States district court.” 18 U.S.C. § 2724(a). Permissible uses include, in part, “[f]or use by any

 government agency, including any court or law enforcement agency, in carrying out its functions,

 or any private person or entity acting on behalf of a Federal, State, or local agency in carrying out

 its functions.” 18 U.S.C.A. § 2721. The broad language of the government use exception of

 § 2721(b)(1) reflects Congress’s intent to allow governmental agencies to access and use motor

 vehicle record data in conducting their operations. Kost v. Hunt, 983 F. Supp. 2d 1121, 1133

 (D. Minn. 2013).

                   The provision uses broad language in allowing for use of the data by
                   a government agency “in carrying out its functions.” Unlike the
                   other provisions that define an exemption by reference to the user of
                   the data as well as the use, the exception for government use under
                   (b)(1) does not include more specific qualifications or limitations.
                   Cf. 18 U.S.C. § 2721(b)(3) (restricting “use in the normal course of

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                business by a legitimate business” to particular uses); § 2721(b)(6)
                (limiting insurance-related parties to uses “in connection with
                claims investigation activities, antifraud activities, rating or
                underwriting”); § 2721(b)(8) (limiting use by licensed private
                investigative agencies or security services for “any purpose
                permitted” under the section). Also, unlike the exemption of §
                2721(b)(4) for data uses in connection with court and agency
                proceedings, the government functions exemption does not include
                specific examples suggestive of limited categories of activities
                covered by the provision.

 Id.

        Here, the record clearly demonstrates the posters were prepared and placed behind a

 counter in the municipal building in response to Plaintiffs’ known behaviors and was solely for

 the legitimate purpose of informing the Howell Township Police Department of Plaintiffs’

 activities (their audio and video taping of government employees and buildings) so Howell

 Township could continue to effectively perform its essential governmental functions. The posters

 themselves warn the Howell Police Department that the “[s]subject may attempt to audio and video

 tape government employees and government buildings.” (ECF No. 4-6.) Further, the Kudrick

 Memo titled “Videoing/Encounters with the Public” is a prime example of the posters’ purpose—

 “to familiarize and guide” an officer’s “response” when he/she encounters “such persons” who

 bait police officers into confrontation and record them. (ECF No. 4-3.) Because this Court

 concludes Defendants’ use of Plaintiffs’ motor vehicle records was a “permissible use” under the

 DPPA, Plaintiffs are unable to state a claim under the DPPA. It follows Plaintiffs also fail to state

 a violation of § 1983 based on alleged DPPA violations.

        To the extent Plaintiffs claim the disclosure of their name, age, and address on the posters

 violate a general right to privacy, their claims are flawed. As an initial matter, there is no general

 constitutional right to privacy. Katz v. United States, 389 U.S. 347, 350 (1967); see Whalen v. Roe,

 429 U.S. 589, 608, (1977) (Stewart, J., concurring). “An officer’s search of public records does

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 not violate the constitutional right to privacy.” Walker v. Cullen, 491 F. App’x 273, 275 (3d Cir.

 2012) (citing Cox Broad. Corp. v. Cohn, 420 U.S. 469, 494–95, (1975) (“[T]he interests in privacy

 fade when the information involved already appears on the public record.”)); see Scheetz v. The

 Morning Call, Inc., 946 F.2d 202, 207 (3d Cir. 1991). While the DPPA “provides redress for

 violation of a person’s protected interest in the privacy of his or her motor vehicle records and the

 identifying information therein,” it also “expressly provides that information contained in a

 person’s record may be disclosed ‘[f]or use by any government agency, including any court or law

 enforcement agency, in carrying out its functions.’” Walker, 491 F. App’x at 275 (quoting 18

 U.S.C. § 2721(b)(1)). Because the Court has concluded Defendants’ use of Plaintiffs’ motor

 vehicle records does not violate the DPPA or Plaintiffs’ right to privacy, Defendants’ use of the

 motor vehicle database did not violate Plaintiffs’ right to privacy. See id.

        As a result, the Court finds Plaintiffs have not pled any facts demonstrating Defendants

 deprived them of a right secured by the Constitution or any law of the United States which is

 required to state a cause of action under § 1983. Shuman ex rel Shertzer, 422 F.3d at 146.

 Accordingly, Defendants’ Motion to Dismiss Plaintiffs’ Counts One (violation of § 1983) and Six

 (violation of DPPA) is GRANTED.

        B. NJCRA (Count Two)

        Defendants argue Plaintiffs cannot state a claim under the NJCRA for the same reasons

 they cannot state a claim under § 1983. (ECF No. 11-2 at 7.) Plaintiffs argue the Amended

 Complaint properly claims relief pursuant to the NJCRA because Defendants violated OPRA and

 the DPPA. (ECF No. 12-2 at 30-33.)

        The NJCRA provides, in pertinent part, a private cause of action to

                [a]ny person who has been deprived of any substantive due process
                or equal protection rights, privileges or immunities secured by the

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                Constitution or laws of the United States, or any substantive rights,
                privileges or immunities secured by the Constitution or laws of this
                State, or whose exercise or enjoyment of those substantive rights,
                privileges or immunities has been interfered with or attempted to be
                interfered with, by threats, intimidation or coercion by a person
                acting under color of law.

 N.J.S.A. § 10:6–2(c). The NJCRA was modeled after § 1983, and “courts in New Jersey have

 consistently looked at claims under the NJCRA ‘through the lens of § 1983[,]’” thereby construing

 the NJCRA in terms similar to its federal counterpart. Samoles v. Lacey Twp., No. 12–3066, 2014

 WL 2602251, at *15 (D.N.J. June 11, 2014) (citation omitted); see Hartfelder v. N.J. State Police,

 No. 165461, 2017 WL 3184173, at *5 (D.N.J. July 26, 2017); Armstrong v. Sherman, No. 09–716,

 2010 WL 2483911, *5 (D.N.J. June 4, 2010). This Court has repeatedly interpreted the NJCRA

 analogously to § 1983. See Chapman v. New Jersey, No. 08–4130, 2009 WL 2634888, *3 (D.N.J.

 August 25, 2009) (“Courts have repeatedly construed the NJCRA in terms nearly identical to its

 federal counterpart: Section 1983.”); Armstrong, 2010 WL 2483911 at *5 (“[T]he [NJRCA] is a

 kind of analog to section 1983.”). The NJCRA is therefore generally interpreted nearly identically

 to § 1983 and claims under the NJCRA are generally coterminous with and subject to the same

 defenses and immunities as those brought under § 1983. Trafton v. City of Woodbury, 799 F. Supp.

 2d 417, 443-44 (D.N.J. 2011). “Therefore, the Court will analyze Plaintiffs’ NJCRA claims

 through the same lens of § 1983.” Id. at 444.

        For the reasons set forth in connection with the § 1983 analysis above, Plaintiffs cannot

 state a claim under the NJCRA for violations of the DPPA. Furthermore, Plaintiffs’ mere

 allegations that Defendants violated OPRA by retaliating against Plaintiffs for making requests

 pursuant to the Act, is insufficient to state a claim under the NJCRA. Plaintiffs have not set forth

 which alleged provision within OPRA was violated or what “Constitution or laws of the United

 States, or any substantive rights, privileges or immunities secured by the Constitution or laws [of

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 New Jersey]” were violated. N.J.S.A. § 10:6–2(c). Moreover, it would be illogical for the Court to

 find Defendants used the posters for retaliation after finding the posters served a legitimate purpose

 and assisted Howell Township in effectively performing its essential government functions.

 Accordingly, Defendants’ Motion to Dismiss Count Two (NJCRA) is GRANTED.

         C. Monell Claim (Counts Three and Four)

         Defendants contend Plaintiffs cannot state a Monell or failure to train/supervise claim

 because there was no underlying constitutional violation. (ECF No. 11-2 at 8-9.) Plaintiffs argue

 they have adequately pled a Monell claim pursuant to § 1983 because “Howell Township acting

 through its decision makers, [] Mayfield and [] Kudrick had a policy which permitted the police to

 access the New Jersey Motor Vehicle Database and use it for purposes not permitted under the

 DPPA.” (ECF No. 12-2 at 34.)

         “The Supreme Court enunciated the rule for imposing liability against a municipality [or

 local government] under section 1983 in Monell v. Department of Social Services of City of New

 York, 436 U.S. 658 (1978).” Kneipp v. Tedder, 95 F.3d 1199, 1211 (3d Cir. 1996). Pursuant to

 42 U.S.C. § 1983, governmental entities cannot be liable for the actions of its employees on a

 respondeat superior theory. Iqbal, 556 U.S. at 676. The Court in Monell held:

                [A] local government may not be sued under § 1983 for an injury
                inflicted solely by its employees or agents. Instead, it is when
                execution of a government’s policy or custom, whether made by its
                lawmakers or by those whose edicts or acts may fairly be said to
                represent official policy, inflicts the injury that the government as
                an entity is responsible under § 1983.

 Id. at 694.

         “Policy is made when a decision [] maker possess[ing] final authority to establish

 municipal policy with respect to the action issues an official proclamation, policy, or edict.”

 Benjamin v. E. Orange Police Dep’t, 937 F. Supp. 2d 582, 595 (D.N.J. 2013) (quoting Andrews v.

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 City of Phila., 895 F.2d 1469, 1480 (3d Cir. 1990) (citation omitted)). “A course of conduct is

 considered to be a custom when, though not authorized by law, such practices of state officials

 [are] so permanent and well settled as to virtually constitute law.” Id. (quoting Andrews, 895 F.2d

 at 1480 (citation omitted)). Custom can also be established through evidence of “knowledge and

 acquiescence.” Id.

         “A municipality may be liable under section 1983 only if it can be shown that its employees

 violated a plaintiff’s civil rights as a result of a municipal policy or practice.’” Williams v. Borough

 of W. Chester, Pa., 891 F.2d 458, 467 (3d Cir. 1989). A municipality

                 cannot be vicariously liable under Monell unless one of [its]
                 employees is primarily liable under section 1983 itself. “If a person
                 has suffered no constitutional injury at the hands of [any] individual
                 police officer, the fact that the departmental regulations might have
                 authorized [unconstitutional action] is quite beside the point.”

 Id. (quoting City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986)).

         The NJCRA, like § 1983, does not impose vicarious or respondeat superior liability. See

 Perez v. New Jersey, No. 14-4610, 2015 WL 4394229, at *8 (D.N.J. July 15, 2015) (“[B]ecause

 respondeat superior liability is not permitted under § 1983, and because New Jersey courts

 interpret the NJCRA as analogous to § 1983, the Court holds that respondeat superior liability is

 not permitted for claims under the New Jersey Constitution and the NJCRA.”) (quoting Ingram v.

 Twp. Of Deptford, 911 F. Supp. 2d 289, 298 (D.N.J. 2012)); Estate of Dasaro v. Cty. of Monmouth,

 No. 14-7773, 2015 WL 5771606, at *5 n.3 (D.N.J. Sept. 30, 2015)(same); see Hudgon v. LaFleur,

 No. 07-3626, 2010 WL 2950004, at *7 n.6 (D.N.J. July 22, 2010) (“[T]he Court sees no reason

 not to interpret the NJCRA consistent with Monell as precluding municipal liability absent an

 official pattern or practice.”).




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         Because the Court has determined Plaintiffs have no viable claim against an individual,

 they cannot have a vicarious liability or failure to train/supervise claim against Howell Township.

 Accordingly, Defendants’ Motion to Dismiss Count Four (Failure to Train Supervise or Discipline

 pursuant to the New Jersey Civil Rights Act) is GRANTED.

         D. Declaratory Judgment (Count Five)

         Count Five of Plaintiffs’ Amended Complaint requests declaratory relief. (ECF No. 4 ¶¶

 67-68.) Specifically, it states:

               Defendants . . . actions set forth above and in particular the misuse of
               New Jersey Motor Vehicle Online Access to Motor Vehicle Records
               database violated the provisions of:
                        a. Federal statute, 18 U.S. Code § 2721 (Prohibition on
                         release and use of certain personal information form State
                         motor vehicle records);
                        b. N.J.S.A. 39:2-3.4(c) (“Drivers Privacy Protection Act”);
                        c. United States Constitution, right to Privacy;
                        d. Federal statute, [42 U.S.C. § 1983];
                        e. New Jersey Civil Rights Act, N.J.S.A. 10:6-1, et seq.

 (Id. ¶ 68.)

         The Declaratory Judgment Act provides that a Court “may declare the rights and other legal

 relations of any interested party seeking such declaration, whether or not further relief is or could

 be sought.” 28 U.S.C. § 2201(a). The express language of the declaratory judgment statute and

 fundamental principles of standing under Article III of the Constitution limit this power to actions

 which present a “case or controversy.” Cutaiar v. Marshall, 590 F.2d 523, 527 (3d Cir. 1979). The

 “actual controversy” requirement refers to the case or controversy requirement of Article III. Teva

 Pharm. USA, Inc. v. Novartis Pharm. Corp., 482 F.3d 1330, 1336 (3d Cir. 2007). In Teva

 Pharmaceuticals, the Third Circuit stated that standing in the declaratory judgment context

 requires:




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                that the dispute be “definite and concrete, touching the legal
                relations of the parties having adverse legal interests”; and that it be
                “real and substantial” and “admi[t] of specific relief through a
                decree of a conclusive character, as distinguished from an opinion
                advising what the law would be upon a hypothetical state of facts.”

 Id. (citing MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118). The court noted, “Basically, the

 question in each case is whether the facts alleged, under all the circumstances, show that there is a

 substantial controversy, between the parties having adverse legal interests, of sufficient immediacy

 and reality to warrant the issuance of a declaratory judgment.” Id. (citation omitted).

        “The statute creates a remedy only; it does not create a basis of jurisdiction, and does not

 authorize the rendering of advisory opinions.” Cutaiar, 590 F.2d at 527. Moreover, “a party

 requesting a declaratory judgment must allege facts from which it appears there is a substantial

 likelihood that he will suffer injury in the future.” Lattaker v. Rendell, 269 F. App’x 230, 233 (3d

 Cir. 2008) (internal quotations omitted).

        Because the Court finds Plaintiffs’ Amended Complaint fails to sufficiently plead any

 cause of action or controversy, much less allege that any of the named Plaintiffs have “a substantial

 likelihood that [they] will suffer injury in the future,” Id. at 233, Plaintiffs’ declaratory judgment

 claim (Count Five) is dismissed.

 IV. CONCLUSION

        For the reasons set forth above, Defendants’ Motion to Dismiss is GRANTED and the case

 is CLOSED. An appropriate Order will follow.



 Date: January 23, 2018                                /s/ Brian R. Martinotti___________
                                                       HON. BRIAN R. MARTINOTTI
                                                       UNITED STATES DISTRICT JUDGE




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